           Case 23-10485          Doc 23       Filed 03/27/24 Entered 03/27/24 11:17:00             Desc Main
                                                Document     Page 1 of 11
                                  IN THE UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF TEXAS
                                             BEAUMONT DIVISION

IN RE:                                                  §
                                                        §
Calvin Gary Walker                                      §      No. 23-10485
xxx-xx-7424                                             §      Chapter 13
3710 Roland Road                                        §
Beaumont, Texas 77708                                   §
   DEBTOR(S)                                            §

                               NOTICE OF CHANGE IN SCHEDULE OF CREDITORS

         In accordance with LBR 1007(b)7, the attached amended schedule is filed for the following reason (check only
one):
                Add Creditor(s) [requires $32.00 filing fee]

                Delete Creditor(s) [requires $32.00 filing fee]

                Change the Amount of a Debt [requires $32.00 filing fee]

                Change the Classification of a Debt [requires $32.00 filing fee]

                Change address of Creditor(s) or add an Attorney for a Creditor [no fee required]

                Amendment to Schedule C – Property Claimed as Exempt

                Amendment to Schedule I – Current Income of Individual Debtor(s)

                Amendment to Schedule J – Current Expenditures of Individual Debtor(s)

                Initial Amended Schedules due to Chapter Conversion

                Other

Instructions: A separate Notice of Change is required when both adding and deleting creditors. An amended (partial)
matrix is required to add or delete creditors.             ANNOTATE CLEARLY SO CHANGES ARE EASILY
UNDERSTANDABLE. Do Not Refile A Complete New Matrix. Only those creditors affected by the amended
schedule should be shown on the matrix. If the $30.00 filing fee is required, multiple filings of a Notice of Change filed
in the same case at the same time require only a single $30.00 fee. Adding or deleting creditors at different times require
a fee each time.
I, or each of us, declare under penalty of perjury that I/we have read the changes in the List of Creditors (Master Mailing
List (matrix) and to the schedules and statements as attached hereto and that they are correct to the best of my/our
knowledge, information and belief.

         Date: March 27, 2024                        /s/ Calvin Gary Walker
                                                     Calvin Gary Walker
          Case 23-10485              Doc 23         Filed 03/27/24 Entered 03/27/24 11:17:00                                 Desc Main
                                                     Document     Page 2 of 11

 Fill in this information to identify your case:
 Debtor 1            Calvin               Gary                   Walker
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number         23-10485                                                                                        amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $357,096.00                 $351,543.11         Const. art. 16 §§ 50, 51, Texas
3710 Roland Rd.                                                                   100% of fair market     Prop. Code §§ 41.001-.002
BMT IMP CO Lt 48 TR A BLK A                                                       value, up to any
Line from Schedule A/B: 1.3                                                       applicable statutory
                                                                                  limit

Brief description:                                         $20,000.00                 $20,000.00          Tex. Prop. Code §§ 42.001(a),
2008 Jeep (approx. 105,000 miles)                                                 100% of fair market     42.002(a)(9)
                                                                                  value, up to any
Line from Schedule A/B:       3.2
                                                                                  applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
           Case 23-10485           Doc 23          Filed 03/27/24 Entered 03/27/24 11:17:00                         Desc Main
                                                    Document     Page 3 of 11


Debtor 1      Calvin Gary Walker                                                     Case number (if known)   23-10485

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $6,465.00                $6,465.00          Tex. Prop. Code §§ 42.001(a),
2-Couches ($300); 3-Recliners/Chairs                                         100% of fair market    42.002(a)(1)
($200); Love Seat ($100); Coffee Table                                       value, up to any
($100); 2-End Tables ($100); Desk ($75);                                     applicable statutory
Computer Table ($120); King Bed ($300); 2-                                   limit
Queen Beds ($300); 2-Night Stands ($100);
Washer ($350); Dryer ($350); Refrigerator
($500); Stove ($450); Freezer ($500); Dining
Table & Chairs ($600); Breakfast Table &
Chairs ($350); Pots, Pans, Dishes ($100);
Towels & Linens ($75); Lawnmower
($250); Weed Eater ($75); Edger ($100);
Wet/Dry Vac ($40); Circular Saw ($30); Drill
($45); Table Saw ($30); Portable Generator
($250); 3-Ladders ($150); Misc. Hand Tools
($200); Fire Pit ($75); Outdoor Cooking
Equipment ($200); Cooking Grill ($50)
Line from Schedule A/B:    6

Brief description:                                      $1,300.00                $1,300.00          Tex. Prop. Code §§ 42.001(a),
2-TVs ($400); Computer/Laptop ($400);                                        100% of fair market    42.002(a)(1)
Printer/Printer Stand ($250);                                                value, up to any
Print/Scan/Fax Combo ($250)                                                  applicable statutory
Line from Schedule A/B:  7                                                   limit

Brief description:                                      $1,550.00                $1,550.00          Tex. Prop. Code §§ 42.001(a),
Fishing Equipment ($300); Camping                                            100% of fair market    42.002(a)(8)
Equipment ($500); Bicycles ($150);                                           value, up to any
Weights ($300); Exercise Equipment                                           applicable statutory
($300)                                                                       limit
Line from Schedule A/B: 9

Brief description:                                       $150.00                  $150.00           Tex. Prop. Code §§ 42.001(a),
Men's Clothing                                                               100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
           Case 23-10485                  Doc 23          Filed 03/27/24 Entered 03/27/24 11:17:00                    Desc Main
                                                           Document     Page 4 of 11

                                                 UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF TEXAS
                                                        BEAUMONT DIVISION
  IN RE: Calvin Gary Walker                                                                 CASE NO       23-10485

                                                                                            CHAPTER       13
                                                                         AMENDED
                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                    Scheme Selected: State
                                                                Gross               Total         Total          Total Amount   Total Amount
No.     Category                                        Property Value      Encumbrances         Equity                Exempt    Non-Exempt


1.      Real property                                    $549,296.00          $101,862.85   $447,433.15          $351,543.11     $95,890.04

3.      Motor vehicles (cars, etc.)                       $60,000.00            $7,240.06    $52,759.94           $20,000.00     $32,759.94

4.      Water/Aircraft, Motor Homes,                      $20,000.00                $0.00    $20,000.00                $0.00     $20,000.00
        Rec. veh. and access.

6.      Household goods and furnishings                    $6,465.00                $0.00     $6,465.00            $6,465.00            $0.00

7.      Electronics                                        $1,300.00                $0.00     $1,300.00            $1,300.00            $0.00

8.      Collectibles of value                                  $0.00                $0.00         $0.00                $0.00            $0.00

9.      Equipment for sports and hobbies                   $1,550.00                $0.00     $1,550.00            $1,550.00            $0.00

10.     Firearms                                               $0.00                $0.00         $0.00                $0.00            $0.00

11.     Clothes                                              $150.00                $0.00      $150.00               $150.00            $0.00

12.     Jewelry                                                $0.00                $0.00         $0.00                $0.00            $0.00

13.     Non-farm animals                                       $0.00                $0.00         $0.00                $0.00            $0.00

14.     Unlisted pers. and household items-                    $0.00                $0.00         $0.00                $0.00            $0.00
        incl. health aids

16.     Cash                                                   $0.00                $0.00         $0.00                $0.00            $0.00

17.     Deposits of money                                    $400.00                $0.00      $400.00                 $0.00        $400.00

18.     Bonds, mutual funds or publicly                        $0.00                $0.00         $0.00                $0.00            $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00                $0.00         $0.00                $0.00            $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00                $0.00         $0.00                $0.00            $0.00
        instruments

21.     Retirement or pension accounts                         $0.00                $0.00         $0.00                $0.00            $0.00

22.     Security deposits and prepayments                      $0.00                $0.00         $0.00                $0.00            $0.00

23.     Annuities                                              $0.00                $0.00         $0.00                $0.00            $0.00

24.     Interests in an education IRA                          $0.00                $0.00         $0.00                $0.00            $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00                $0.00         $0.00                $0.00            $0.00

26.     Patents, copyrights, and other                         $0.00                $0.00         $0.00                $0.00            $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00                $0.00         $0.00                $0.00            $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00                $0.00         $0.00                $0.00            $0.00
           Case 23-10485                  Doc 23     Filed 03/27/24 Entered 03/27/24 11:17:00                         Desc Main
                                                      Document     Page 5 of 11

                                             UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF TEXAS
                                                    BEAUMONT DIVISION
  IN RE: Calvin Gary Walker                                                                 CASE NO       23-10485

                                                                                            CHAPTER       13
                                                                    AMENDED
                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                    Scheme Selected: State
                                                           Gross                  Total           Total          Total Amount   Total Amount
No.     Category                                   Property Value         Encumbrances           Equity                Exempt    Non-Exempt


29.     Family support                                     $0.00                    $0.00         $0.00                $0.00            $0.00

30.     Other amounts someone owes you                     $0.00                    $0.00         $0.00                $0.00            $0.00

31.     Interests in insurance policies                    $0.00                    $0.00         $0.00                $0.00            $0.00

32.     Any int. in prop. due you from                     $0.00                    $0.00         $0.00                $0.00            $0.00
        someone who has died

33.     Claims vs. third parties, even                     $0.00                    $0.00         $0.00                $0.00            $0.00
        if no demand

34.     Other contin. and unliq. claims                    $0.00                    $0.00         $0.00                $0.00            $0.00
        of every nature

35.     Any financial assets you did                       $0.00                    $0.00         $0.00                $0.00            $0.00
        not already list

38.     Accounts rec. or commissions you                   $0.00                    $0.00         $0.00                $0.00            $0.00
        already earned

39.     Office equipment, furnishings,                     $0.00                    $0.00         $0.00                $0.00            $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,           $357,000.00                    $0.00   $357,000.00                $0.00    $357,000.00
        tools of trade

41.     Inventory                                          $0.00                    $0.00         $0.00                $0.00            $0.00

42.     Interests in partnerships or                       $0.00                    $0.00         $0.00                $0.00            $0.00
        joint ventures

43.     Customer and mailing lists, or                     $0.00                    $0.00         $0.00                $0.00            $0.00
        other compilations

44.     Any business-related property not                  $0.00                    $0.00         $0.00                $0.00            $0.00
        already listed

47.     Farm animals                                       $0.00                    $0.00         $0.00                $0.00            $0.00

48.     Crops--either growing or harvested                 $0.00                    $0.00         $0.00                $0.00            $0.00

49.     Farm/fishing equip., impl., mach.,                 $0.00                    $0.00         $0.00                $0.00            $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,              $0.00                    $0.00         $0.00                $0.00            $0.00
        and feed

51.     Farm/commercial fishing-related prop.              $0.00                    $0.00         $0.00                $0.00            $0.00
        not listed

53.     Any other property of any kind not                 $0.00                    $0.00         $0.00                $0.00            $0.00
        already listed

                    TOTALS:                          $996,161.00              $109,102.91   $887,058.09          $381,008.11    $506,049.98
            Case 23-10485               Doc 23         Filed 03/27/24 Entered 03/27/24 11:17:00                             Desc Main
                                                        Document     Page 6 of 11

                                             UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF TEXAS
                                                    BEAUMONT DIVISION
  IN RE: Calvin Gary Walker                                                                   CASE NO        23-10485

                                                                                             CHAPTER         13
                                                                   AMENDED
                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                               Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                   Market Value                       Lien              Equity

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                                        $0.00                     $0.00                 $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                 Market Value              Lien              Equity       Non-Exempt Amount

Real Property

1520 Park St., Beaumont, TX                                               $78,686.00      $31,962.71         $46,723.29                  $46,723.29

MLK Property                                                              $92,074.00      $54,880.64         $37,193.36                  $37,193.36

4445 Brandon St.                                                          $19,406.00        $9,466.61         $9,939.39                   $9,939.39

Langham St.                                                                 $2,034.00                         $2,034.00                   $2,034.00

Personal Property

2018 GMC Sierra Denali (approx. 19,000 miles)                             $30,000.00        $7,240.06        $22,759.94                  $22,759.94

2009 Cadilac Escalade (approx. 130,000 miles)                             $10,000.00                         $10,000.00                  $10,000.00

Travel Trailer                                                            $20,000.00                         $20,000.00                  $20,000.00

Checking account @ Wells Fargo                                               $400.00                              $400.00                   $400.00

2009 Chev. 2500 ($12,000); 2005 Chev. 3500 ($10,000); Chev.              $342,000.00                        $342,000.00                 $342,000.00

Boom 46-50' Towable Cat/Class 310-5023                                    $15,000.00            $0.00        $15,000.00                  $15,000.00


                   TOTALS:                                               $609,600.00      $103,550.02       $506,049.98                 $506,049.98
       Case 23-10485              Doc 23        Filed 03/27/24 Entered 03/27/24 11:17:00               Desc Main
                                                 Document     Page 7 of 11

                                       UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF TEXAS
                                              BEAUMONT DIVISION
IN RE: Calvin Gary Walker                                                         CASE NO   23-10485

                                                                                  CHAPTER   13
                                                              AMENDED
                      SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                         Continuation Sheet # 3




                                                          Summary
       A. Gross Property Value (not including surrendered property)                               $996,161.00

       B. Gross Property Value of Surrendered Property                                                  $0.00

       C. Total Gross Property Value (A+B)                                                        $996,161.00

       D. Gross Amount of Encumbrances (not including surrendered property)                       $109,102.91

       E. Gross Amount of Encumbrances on Surrendered Property                                          $0.00

       F. Total Gross Encumbrances (D+E)                                                          $109,102.91

       G. Total Equity (not including surrendered property) / (A-D)                               $887,058.09

       H. Total Equity in surrendered items (B-E)                                                       $0.00

       I. Total Equity (C-F)                                                                      $887,058.09

       J. Total Exemptions Claimed                                                                $381,008.11

       K. Total Non-Exempt Property Remaining (G-J)                                              $506,049.98
           Case 23-10485                         Doc 23              Filed 03/27/24 Entered 03/27/24 11:17:00                                                        Desc Main
                                                                      Document     Page 8 of 11

 Fill in this information to identify your case:
 Debtor 1                Calvin                        Gary                          Walker
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number             23-10485                                                                                                                         Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $549,296.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $446,865.00
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $996,161.00
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                              $7,200.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                      $107,134.09
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $107,728.15
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $222,062.24




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $2,559.00
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $2,228.33




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
           Case 23-10485              Doc 23         Filed 03/27/24 Entered 03/27/24 11:17:00                              Desc Main
                                                      Document     Page 9 of 11


Debtor 1      Calvin Gary Walker                                                           Case number (if known)     23-10485


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
         Case 23-10485             Doc 23        Filed 03/27/24 Entered 03/27/24 11:17:00                            Desc Main
                                                 Document      Page 10 of 11

 Fill in this information to identify your case:
 Debtor 1           Calvin              Gary                 Walker
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number        23-10485                                                                                 Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.




    X /s/ Calvin Gary Walker                               X
        Calvin Gary Walker, Debtor 1                           Signature of Debtor 2

        Date 03/27/2024                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
  Case 23-10485         Doc 23   Filed 03/27/24 Entered 03/27/24 11:17:00           Desc Main
                                 Document      Page 11 of 11



                    IN THE UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

IN RE:                                          §
                                                §
Calvin Gary Walker                              §    No. 23-10485
xxx-xx-7424                                     §    Chapter 13
3710 Roland Road                                §
Beaumont, Texas 77708                           §
   DEBTOR(S)                                    §

                                 CERTIFICATE OF SERVICE

         I do hereby certify that a true and correct copy of the foregoing Amendments have been
properly forwarded to all parties on the attached matrix by electronic mail or first class mail, on
this the 27th day of March, 2024.


                                      MAIDA LAW FIRM, P.C.

                                      By:    /s/ Frank J. Maida
                                             Frank J. Maida
